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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
v. Case No: 8:12-cr-266-T27AEP

MICHAEL R. RUCKER
/

ORDER

BEFORE THE COURT are Defendant Rucker’s Motion for Compassionate Release
(Dkt. 207), the United States of America’s Response in Opposition (Dkt. 208), and Rucker’s Reply
Memorandum (Dkt. 211). Upon consideration, the motion is DENIED.

Rucker was convicted of being a felon in possession of a firearm (Count One) and
possessing with intent to distribute cocaine base and marijuana within 1,000 feet of a secondary
school and private playground (Count Three). (Dkt. 161). He was sentenced to concurrent terms
of 120 months on Count One and 240 months on Count Three. (Id. at 2). His convictions and
sentence were affirmed. (Dkt. 188); United States vy. Rucker, 588 F. App’x 943 (11th Cir. 2014).
His motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255 and motion to
reduce sentence were denied. (Dkt. 201); Case No. 8:15-cv-2210, ECF: Dkt. 36.

Rucker now seeks a sentence reduction based on “extraordinary and compelling reasons.”
| (Dkt. 207 at 1). Specifically, he asserts that he “is among the most vulnerable inmates in the
COVID-19 pandemic because he suffers from stage 3 renal insufficiency, which is a chronic
kidney disease, and hypertension,” and that these “conditions undermine his ability to provide self-
care, where he is unable to socially distance and take safe preventative measures per the CDC

guidelines.” (Id. at 2, 9). He further asserts that “he no longer poses a danger to the community”
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and that his “risk of death or severe illness warrants his release under these extraordinary
circumstances and is consistent with existing law and practice during these extraordinary times.”
(Id. at 2, 4). The United States opposes the motion because Rucker has not established
extraordinary and compelling circumstances and “the Bureau of Prisons (‘BOP’) has implemented
a COVID-19 action plan to minimize the risk of transmission into and throughout its facilities.”
(Dkt. 208 at 1). Upon review, Rucker’s motion is due to be denied.

The First Step Act amended 18 U.S.C. § 3582(c)(1)(A) to allow a defendant to seek
compassionate release with the court after fully exhausting the administrative remedies available
to him following the failure of the BOP to bring a motion on his behalf, or 30 days after the warden
receives the request to bring such a motion, whichever is earlier. See First Step Act of 2018, §
603(b).! Rucker provides documentation reflecting that he filed requests with the BOP to bring a
motion on his behalf more than 30 days ago, which were denied. (Dkts. 207-11, 207-12, 207-13,
207-14). Accordingly, because 30 days have elapsed since the warden received his requests for
compassionate release, his motion for a sentence reduction based on “extraordinary and
compelling reasons” can be considered.

While the First Step Act provides for a sentence reduction based on “extraordinary and
compelling reasons,” the reduction must be “consistent with applicable policy statements issued
by the [United States] Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). The Sentencing
Commission promulgated its policy statement in U.S.S.G. § 1B1.13. The application notes to §
1B1.13 list four circumstances as extraordinary and compelling under § 3582(c)(1)(A): (A) a

serious medical condition; (B) advanced age and deteriorating health; (C) family circumstances;

 

' This exhaustion requirement cannot be waived. See, e.g., United States v. Smith, No. 8:17-cr-412-T-36,
2020 WL 2512883, at *4 (M.D. Fla. May 15, 2020) (finding that the court “does not have the authority to excuse the
exhaustion or lapse requirement in § 3582(c)(1)(A), even in the midst of the COVID-19 pandemic”).
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and (D) an extraordinary and compelling reason other than, or in combination with, (A)-(C), as
determined by the Director of the BOP. § 1B1.13, emt. n.1.

None of the reasons offered by Rucker fall within these circumstances. First, he is 42 years
old and does not qualify under the age-based criteria, and he has not presented family
circumstances to justify compassionate release. Second, nothing in his medical records indicates
that he is suffering from a terminal illness or that his medical conditions “substantially diminish
[his] ability . . . to provide self-care within the environment of a correctional facility and from
which he . . . is not expected to recover.”” U.S.S.G. § 1B1.13, cmt. n.1. Indeed, he fails to
demonstrate any medical condition that would satisfy the requirements for release, nor does he
provide any evidence that his health is deteriorating, much less from COVID-19. See United States
v. Sandoval, No. 3:16-cr-54, 2020 WL 6292010, at *1 (M.D. Fla Oct. 27, 2020) (denying
compassionate release to a defendant who previously contracted COVID-19 and suffered from
“Stage 3 chronic kidney disease, type 1 and type 2 diabetes, hypertension”). Moreover, to the
extent Rucker contends that because of his prior COVID-19 infection, he “faces a serious risk of
COVID-19 reinfection,” and that a “second COVID-19 case may be more severe than his first

case” (Dkt. 207 at 14), that contention remains speculative, and does not fall within the

 

2 In support of his motion, Rucker provides medical records from December 2, 2019, which confirm that he
has “mild renal insufficiency, early stage 3,” and hypertension. (Dkt. 207-16 at 1-2). He further provides the
declaration of Dr. Sadé McKenzie who opines that “Mr. Rucker, a middle-aged Black male suffering from both
hypertension and chronic kidney disease is among a medically vulnerable population, who, if infected with COVID-
19, faces a significant risk of suffering severe complications and outcomes.” (Dkt. 207-15 at J 12). Missing, however,
is any evidence demonstrating that he suffers from a terminal illness or that his medical conditions substantially
diminish his ability to provide self-care. See U.S.S.G. § 1B1.13, emt. n.1; United States v. Heromin, No. 8:11-CR-
550-T-33SPF, 2019 WL 2411311, at *1-2 (M.D. Fla. June 7, 2019) (denying compassionate release due to absence of
corroboration from medical provider that defendant is unable to provide self-care or suffers a serious medical
condition). Indeed, as the United States correctly contends, “the records show that his ailments appear to be well-
controlled, he receives medical care as needed, and his ailments do not appear to present any impediment to his ability
to provide self-care in the institution.” (Dkt. 208 at 11); see also United States v. Solorio, No. 3:11-cr-138, 2020 WL
6292558, at *1 (M.D. Fla. Oct. 27, 2020) (denying compassionate release to an inmate suffering from “Stage 5 chronic
kidney disease and hypertension); United States v. Copeland, No. 3:11-cr-281-J-34JBT, 2020 WL 4193554, at *2
(M.D. Fla. July 21, 2020) (finding that hypertension treated by medication is “hardly an extraordinary condition”
warranting release).
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“extraordinary and compelling” circumstances in the policy statement of § 1B1.13, even if
considered in combination with the criteria in the application notes.? And courts in this Circuit,
with which I agree, have held that “general concerns about possible exposure to COVID-19 do not
meet the criteria for an extraordinary and compelling reason under U.S.S.G. § 1B1.13.” See Smith,
2020 WL 2512883, at *4.
Last, to the extent Rucker contends that district courts have discretion to determine whether
a defendant has presented an extraordinary and compelling reason independent of U.S.S.G. §
1B1.13 (Dkt. 207 at 6-9; Dkt. 211 at 1-2), courts in this Circuit, also with which I agree, have
rejected that contention.* See, e. e. United States v. Willingham, No. CR 113-010, 2019 WL
6733028, at *1 (S.D. Ga. Dec. 10, 2019). Even if district courts have discretion to independently
determine what constitutes an extraordinary and compelling reason, Rucker has failed to
demonstrate an adequate basis to warrant compassionate release. And although he cites the

sentencing factors in 18 U.S.C. § 3553 (Dkt. 207 at 19-24), in the absence of an extraordinary and

 

> See also Sandoval, 2020 WL 6292010, at *1 (“{W]hether or not Defendant might be susceptible to
reinfection, his recovery is significant because it demonstrates his ability to withstand and recover from Covid-19. As
such, the Court concludes that, accounting for Defendant’s conditions, Covid-19 is not a justification for
compassionate release.”); United States v. Walker, No. 2:17-cr-539-RDP-SGC, 2020 WL 5258287, at * 3 (N.D. Ala.
Sept. 3, 2020) (denying compassionate release to an inmate who contracted COVID-19 but failed to demonstrate that
“he is at higher risk or would otherwise be better off were he released from incarceration now”).

4 Rucker’s reliance on United States v. Brooker, 976 F.3d 228 (2d Cir. 2020) is unpersuasive. In Brooker,
the Second Circuit held that “despite Application Note 1(D), the First Step Act freed district courts to exercise their
discretion in determining what are extraordinary circumstances.” /d. at 234. The court explained that “[b]ecause
Guideline § 1B1.13 is not ‘applicable’ to compassionate release motions brought by defendants [as compared to those
brought by the Bureau of Prisons], Application Note 1(D) cannot constrain district courts’ discretion to consider
whether any reasons are extraordinary and compelling. .. . The only statutory limit on what a court may consider to
be extraordinary and compelling is that ‘[r]ehabilitation . . . alone shall not be considered an extraordinary and
compelling reason.”” /d. at 236, 237-38 (quoting 28 U.S.C. § 994(t)) (emphasis and alterations in original). First,
Brooker is not binding authority. See Bonner v. City of Prichard, Ala., 661 F.2d 1206, 1209 (1 1th. Cir. 1981) (‘Under
the established federal legal system the decisions of one circuit are not binding on other circuits.”). Second, the
Eleventh Circuit has not determined that U.S.S.G. § 1B1.13 does not apply to compassionate release motions brought
by defendants. See United States v. Griffin, 815 F. App’x 503, 504 (11th Cir. 2020) (noting that district courts must
“find that a reduction is consistent with applicable policy statements issued by the Sentencing Commission” before
reducing a term of imprisonment).
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compelling reason or another basis to warrant a reduction, this Court declines to reduce his
sentence.” See 18 U.S.C. § 3582(c)(1).

In summary, the reasons Rucker asserts for compassionate release are not encompassed
within the “extraordinary and compelling” circumstances in the policy statement of § 1B1.13, even
if considered in combination with the criteria in the application notes, and are therefore
inconsistent with the policy statement in § 1B1.13. Accordingly, relief cannot be granted, and the
motion is DENIED.

Zz
DONE AND ORDERED this Dh ites of January, 2021.

tas D. WHITTEMORE
ited States District Judge

Copies to: Defendant, Counsel of Record

 

> Even if extraordinary and compelling reasons exist, the section 3553(a) factors do not weigh in favor of
Rucker’s release. These factors aid the court in imposing a sentence that is “sufficient, but not greater than necessary
... to reflect the seriousness of the offense and to promote respect for the law, the need for adequate deterrence, the
need to protect the public, and the need to provide the defendant with educational or vocational training, medical care,
or other correctional treatment.” United States v. Powers, 790 F. App’x 176, 182 (11th Cir. 2019) (citing 18 U.S.C. §
3553(a)). In addition to these factors, “[t]he court must also consider the nature and circumstances of the offense and
the history and characteristics of the defendant... .” United States v. Gonzalez-Villanueva, 810 F. App’x 809 (11th
Cir. 2020) (citations omitted). Indeed, Rucker’s criminal history is extensive. See (Dkt. 200 at J] 39-66). When he
was sentenced in this case, he was 34 years old, had been designated a career offender under the Sentencing Guidelines,
and was in a criminal history category six, the highest criminal history category. Reducing his sentence, therefore,
would not reflect the seriousness of his offense, promote respect for the law, provide just punishment for his past
behaviors, or adequately deter criminal conduct in the future.
